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         THE UNITED STATES BANKRUPTCY COURT NORTHERN DISTRICT OF
                           MISSISSIPPI (ABERDEEN)


IN RE:
                                                         Case No. 18-12388-JDW
                                                         Judge Jason D. Woodard
PRO LOGGING, INC.,
                                                         Chapter 11
                      Debtor.

   REGIONS BANK’S RESPONSE TO MOTION OF TCF EQUIPMENT FINANCE, A
  DIVISION OF TCF NATIONAL BANK, TO REQUIRE DEBTOR’S ASSUMPTION OR
    REJECTION OF EXECUTORY CONTRACT OR UNEXPIRED LEASE [DKT. 52]

           COMES NOW Regions Bank (“Regions”), by and through the undersigned counsel, and

 hereby responds to the Motion of TCF Equipment Finance, a Division of TCF National Bank,

 (“TCF”) to Require Debtor’s Assumption or Rejection of Executory Contract or Unexpired

 Lease [Dkt. 52] as follows:

           1.    Regions is a secured creditor of: (a) the Debtor in this Chapter 11 proceeding, Pro

 Logging, Inc. (“Logging”); (b) Pro Trucking, Inc, a Debtor in a separate Chapter 11 proceeding

 pending before this Court (“Trucking”); and Pro South, Inc., (“South”) an affiliate of Logging

 and Trucking by virtue of the common majority (or sole) shareholder, Mr. Russell Marion Stites

 (“RMS”). Logging, Trucking and South are referred to collectively as the “Corporate Obligors”

           2.    On or about November 3, 2016, the Corporate Obligors joined as co-makers on

 certain promissory notes payable to Regions (the “Regions Notes” or the “Regions

 Obligations”), which have been amended, modified and or renewed from time to time. To secure

 the Notes, the Corporate Obligors granted certain security interests to Regions in their personal

 property, including their equipment. In addition, South, RMS and Amy Glisson Stites (“AMS”)

 executed certain first priority, and second priority, deeds to secure debt in favor of Regions to

 secure the Regions Obligations (the “DTSD’s”).




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           3.   Regions opposes, and objects to, any relief sought by, or granted to, TCF that

 does not recognize the relative priorities afforded to Regions pursuant to: (a) the applicable

 provisions of the Uniform Commercial Code, as adopted by the State of Mississippi (the

 “UCC”); (b) the United States Bankruptcy Code (the “Code”); or (c) applicable non-bankruptcy

 law.

           4.   Regions further opposes any final relief sought by, or granted to TCF that does

 not recognize Regions’ first and second priority in the real property owned by South, RMS and

 AMS, which is subject to the DTSD’s (the “Real Property”), including any fixtures, or

 equipment that has become a fixture, which are permanently affixed to the Real Property.

           5.   Regions further opposes any relief sought by, or granted to, TCF that would allow

 CCG to remove any equipment in which CCG is deemed to hold a first priority security interest

 from the Real Property in such a way that causes damage to the Real Property, including fixtures,

 or to any equipment or other personal property that is owned by South, RMS or AMS, in which

 Regions holds a lien that is senior in priority to the liens of TCF, without first compensating

 Regions for such damage, or offering Regions adequate assurance of compensation for such

 damage.

           6.   Regions expressly reserves any and all rights to assert any claims or defenses

 against TCF, or challenges to the priority of CCG’s: (a) pre-petition liens and security interests in

 and to the personal property of Logging, Trucking, South, RMS or AMS; or (b) any post-petition

 replacement liens and security interests granted to TCF, to the extent such pre-petition or post-

 petition liens and security interests of TCF conflict with, or are subordinate to, the pre-petition

 liens and security interests of Regions.

           7.   Regions prays for such other and different relief as is just and proper.




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           Dated this the 19th day of October 2018.

                                                         /s/ John M. Lassiter
                                                         Joe A. Joseph
                                                         John M. Lassiter
                                                         Regan C. Loper

                                                         Attorneys for Regions Bank

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